Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 1 of 11 PageID# 1295



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


PHI VAN NGUYEN,

               Defendant-Petitioner,

       V.                                                    No. l:15-cr-00350(LMB)
                                                             No. l:17-cv-00697(LMB)
UNITED STATES OF AMERICA,

               Respondent.


                                  MEMORANDUM OPINION


       Phi Van Nguyen("Nguyen" or "movant") has filed a pro se Motion Under 28 U.S.C. §

2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody("Motion to

Vacate")[Dkt. No.214], in which he raises four claims of ineffective assistance of his counsel,

Christopher Amolsch ("Amolsch"). Specifically, he alleges that Amolsch failed to investigate

Nguyen's criminal conduct in order to better negotiate a plea agreement; assured him that the

maximum sentence he would receive under his plea agreement was 60 months, although he

received a sentence of87 months; failed to object to this sentence for being in excess ofthe plea

agreement and disparate from the sentences of his co-defendants; and did not file a notice of

appeal as requested. For the reasons that follow, the Motion to Vacate will be dismissed.

                                       I. BACKGROUND


       On April 14,2016, a grand jury returned a superseding indictment charging Nguyen with

19 counts, including conspiracy to distribute 500 grams or more of cocaine in violation of21

U.S.C. § 841 (Count 1), as well as distribution ofcrack cocaine(Count 2), distribution of

"Molly"(Counts 3-12,15-19), and distribution ofcocaine (Counts 13-14). Superseding

Indictment[Dkt. No. 98]. On June 28,2016, Nguyen appeared with Amolsch and pleaded guilty
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 2 of 11 PageID# 1296
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 3 of 11 PageID# 1297
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 4 of 11 PageID# 1298
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 5 of 11 PageID# 1299
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 6 of 11 PageID# 1300
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 7 of 11 PageID# 1301
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 8 of 11 PageID# 1302
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 9 of 11 PageID# 1303
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 10 of 11 PageID# 1304
Case 1:15-cr-00350-LMB Document 227 Filed 10/29/18 Page 11 of 11 PageID# 1305
